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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


LARRY CARROLL                                    :          DOCKET NO. 2:22-CV-03436


VERSUS                                           :          JUDGE JAMES D CAIN, JR.


SOUTHERN FIDELITY INSURANCE CO. :                           MAGISTRATE JUDGE KAY

                                          JUDGMENT


       For the reasons contained in the Report and Recommendation of the Magistrate Judge

previously filed herein [doc. #16], after an independent review of the record, noting the absence

of objections thereto, and concurring with the Magistrate Judge’s findings under applicable law; it

is

       ORDERED, ADJUDGED, AND DECREED that the Report and Recommendation [doc.

#16] is ADOPTED and that this matter is DISMISSED WITHOUT PREJUDICE.

       This civil action may be reinstated within 30 days for good cause shown, per W.D. La.

Loc. Civ. R. 41.3. Any such showing to be made in writing and filed into the record of this matter.



       THUS DONE AND SIGNED in Chambers this 25th day of October, 2023.




                                      __________________________________
                                      JAMES D CAIN, JR., JUDGE
                                      UNITED STATES DISTRICT COURT



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